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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No. 10-CV-80737-HURLEYIHOPKINS
        (Consolidated with Case No. 10-CV-80738-HURLEYIHOPKINS for the Receivership)

  UNITED STATES SECURITIES AND
  EXCHANGE COMMISSION,
  Plaintiff,
  v.
  TRADE-LLC, et aI.,
  Defendants,
  v.
  BD LLC, et aI.,
  Relief Defendants.
  ----------------------------~/
  COMMODITY FUTURES TRADING
  COMMISSION,

  Plaintiff,

             v.

  TRADE-LLC, et aI.,

  Defendants,

  BD LLC, et aI.,

  Relief Defendants.
  -------------------------------./

              RECEIVER'S UNOPPOSED MOTION TO CLOSE THE RECEIVERSHIP
               AND TO DISCHARGE THE RECEIVER AND HIS PROFESSIONALS

             Jeffrey C. Schneider, not individually, but solely in his capacity as receiver (the

  "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center Richmond

  LLC (collectively, the "Receivership Entities" or "Trade"), moves to close the receivership and

  to discharge the Receiver and his professionals.




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            I.        The Receiver Has Concluded All of His Material Duties

            After two and a half years, nearly a dozen lawsuits or pre-suit disputes (all of which

  were settled without costly trials), one contempt proceeding, the sale of five properties and

  literally dozens of items of personalty and the distribution of over $7 million to victims

  (representing a 34% recovery), the Receiver is happy to report that he has concluded all of his

  material duties as Receiver In this case. Therefore, concurrently with this Motion, the Receiver

  has filed his Final Report [DE 187] and will also be filing his latest Fee Application shortly.

            The Receiver has issued all final distribution checks to investors with "allowed claims,"

  and, therefore, has concluded his final distribution in the amount of $1,783,000. The Receiver

  has returned approximately 34% in total to investors in approximately two years (the final

  distribution was approximately 9% of investor losses and the first distribution was

  approximately 25% of investor losses). 1

            Regarding tax and accounting issues, the Receiver has issued 1099's for purposes of the

  final distribution to investors who invested through retirement accounts. The Receiver has also

  prepared and will be filing all remaining tax returns for the Receivership Entities for tax years

  2006-2010.        The Receivership Entities had failed to file these tax returns pre-receivership,

  which obligated the Receiver to prepare and file them now.

            The Receiver has also settled, on an amended basis, his lawsuit against Silent Standby

  and Franklin Freedman? That action was the final receivership lawsuit.

            Finally, the Receiver testified on behalf of the CFTC at the recent trial on damages



  1 The Receiver's first distribution was in the amount of $5.5 million and made in November
  2011.

  2  The case is styled Jeffrey C. Schneider, Receiver v. Silent Standby Power Supply LLC,
  Franklin Freedman, and Siri Salmi, Case No. 11-80977.
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  against William and Gregory Center.

          II.       The Receiver Requests Permission to Accept
                    Settlement Payments from Silent Standby

          Despite seeking his discharge, the Receiver requests that he be permitted to continue his

  collection efforts pursuant to the amended settlement agreement with Silent Standby. Because

  the total amended settlement amount is $48,000, the amount would likely be too insignificant to

  justify the expense of another distribution, because it would represent a distribution of only

  0.2%. As such, the collected amounts would likely be held in a reserve. Any disposition of

  collected funds will be made pursuant to separate motion and Court-approval.

          III.      The Receiver Requests Permission to Continue to
                    Accept Settlement Payments from the Casazzas

          There is approximately $5,000 still owed in settlement payments from two of the

  Receiver's ancillary defendants, David and Konstantina Casazza. 3 The Receiver anticipates that

  the remaining amount will be paid in the next two to three months. As such, and despite

  seeking his discharge, the Receiver requests that he be permitted to continue to accept such

  settlement payments. Like the Silent Standby payments, the collected amounts would likely be

  held in a reserve.       Again, disposition of collected funds will be made pursuant to separate

  motion and Court-approval.

          IV.       The Receiver Requests Permission
                    to Accept Funds from the CFF Receiver

          Moreover, the Receiver recently moved for authorization to accept the return of

  $123,880.07 in funds from Cash Flow Financial's ("CFF") Receiver (Phillip S. Stenger) and to



  3 The settlement payments are from the ancillary receivership case styled Jeffrey C. Schneider,
  Receiver v. Philip W. Milton, William H Center, T & D Highway Services LLC, Dawn Peluso,
  Charles Reeves, Jason Zamperini, Timothy 0 'Connor, David R. Casazza, Konstantina Casazza,
  Dennis Sacco, and Roseann Sacco, Case No. 10-61401.
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  modify CFF's/Mr. Stenger's claim amount [DE 185], which this Court granted [DE 186]. Now

  the Receiver must await a similar Order from the Court in the CFF case.                              Like the Silent

  Standby settlement amount, this amount is too insignificant to justify the expense of another

  distribution, because it would represent a distribution of only 0.6%. As such, this amount will

  likely be allocated primarily to pay final receivership expenses, with any remaining amounts

  kept as a reserve.       Again, disposition of collected funds will be made pursuant to separate

  motion and Court-approval.

          V.        The Receiver Requests Permission
                    to Attempt to Collect on JUdgments

          The Receiver is holding several judgments from the ancillary receivership actions. It is

  possible that he will collect additional amounts in the future and move to reopen the case to

  make another distribution. Unfortunately, however, the Receiver does not hold out much hope

  that the judgments will be collectible.

          VI.      Conclusion

          Given that the primary matters in the receivership have been concluded, including

  making all distributions, completing all tax and accounting work and settling all ancillary

  lawsuits, the Receiver requests that he be permitted to close the receivership case, and that he

  and his professionals be discharged, except for (i) receiving the Silent Standby settlement

  payments, (ii) receiving the Casazza settlement payments, (iii) receiving the agreed funds from

  the CFF Receiver, (iv) attempting to collect on the judgments issued against targets that the

  Receiver previously sued, and (v) filing separate motion(s) on the disposition of collected funds.

          The SEC, CFTC, and Defendants have no objection to this Motion.

          WHEREFORE, the Receiver respectfully requests that this Court enter an Order

  discharging the Receiver and his professionals, and closing the receivership case. A copy of a

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  proposed Order is attached as Exhibit A.

  Dated: April 30,2013.                                  Respectfully submitted,

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                                          CERTIFICATE OF SERVICE

          I hereby certify that on April 30, 2013, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the attached Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CMIECF

  or in some other authorized manner for those counselor parties who are not authorized to receive

  electronically Notices of Electronic Filing.


                                                                   s:/Patrick J. Rengstl
                                                                   Patrick J. Rengstl, Esq.
  GM2434.doc




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